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                                UNITED S T A T E S DISTRICT C O U R T
                                NORTHERN DISTRICT O F G E O R G I A
                                       A T L A N T A DIVISION



UNITED S T A T E S O F A M E R I C A                                C a s e No.    1:14-cr-0228-AT


-vs-

J a m e s Blocker                                                   D e f e n d a n t ' s Attorney:
                                                                    Kevin Chastine



                                J U D G M E N T IN A C R I M I N A L C A S E
                       (For Offenses Committed On or After November 1,1987)

The defendant pleaded guilty to Count 1 of the Indictment.

Accordingly, the defendant is adjudged guilty of such count which involves the following offense:

Title & Section                   Nature of Offense                                         Count No.

18 USC §371                       Conspiracyto Commit Copyright Infringement                      1


The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

It is ordered that the defendant shall pay the special assessment of $100 which shall be due immediately.

IT IS FURTHER O R D E R E D that the defendant shall notify the United States attorney for this district within
thirty days of any change of name, residence, or mailing address until all fines, restitution, costs and special
assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No.         XXX-XX-4530               Date of Imposition of Sentence: March 15, 2^18
Defendant's Date of Birth:        1978
Defendant's Mailing Address:      4009 Martha Lane
                                   Rowlett, Texas 75088

Signed this the        day of March, 2018.



                                                                     AMY TOTQNBERp
                                                                     UNITED STATES DISTRICT JUDGE
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                                                  PROBATION

The defendant is hereby placed on probation for a term of 24 MONTHS.

For the first 10 months of this probation, the defendant shall reside at the Volunteers of America halfway
house in Dallas TX subject to any availability issues the facility may currently have. The defendant is
authorized to work in his current employment while residing at the halfway house. The defendant is also
authorized to visit his minor son while residing at the halfway house. The Probation Officer shall set the date
for the defendant to report to the halfway house.

For the following 10 months of this probation, the defendant shall participate in a home confinement detention
program While on home confinement, the defendant is authorized to work full-time, participate in his child s
school activities and school appointments, attend family gatherings, attend religious services, attend medical
appointments for himself, his child, and his elderly parents, to participate in self-care needs such as grocery
shopping to complete his community service requirement, and other activities as authonzed by the Probation
Officer. While on home confinement, the defendant shall perform 75 hours of community service under the
guidance and supervision of the U.S. Probation Officer.

Upon release from home confinement, the defendant shall have 4 months of non-reporting probation.

The defendant shall not commit another federal, state or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

                  The defendant shall refrain from any unlawful use of a controlled substance. The defendant
         shall submit to one drug test within 15 days of placement on probation and at least two penodic dmg
         tests thereafter, as directed by the probation officer.

                  •        the above drug testing condition is suspended based on the court's determination
                           that the defendant poses a low risk of future substance abuse. (Check, if
                           appropriate.)

The defendant shall not possess a firearm as defined in 18 USC § 921.

 If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the defendant
 pay any such fine or restitution in accordance with the Schedule of Payments set forth in the Criminal
 Monetary Penalties sheet of this judgment.

 The defendant shall comply with the standard conditions that have been adopted by this court (set forth on
 the attached page). The defendant shall also comply with the additional conditions set forth below.
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                                S P E C I A L CONDITIONS OF SUPERVISION

Pursuant to 42 U.S.C. § 14135a(d)(1) and 10 U.S.C. § 1565(d), which requires mandatory DNA testing for
federal offenders convicted of felony offenses, the defendant shall cooperate in the collection of DNA as
directed by the probation officer.
The defendant shall submit his person, property, house, office, residence, vehicle, papers, computer (as
defined in 18 U.S.C. § 1030(e)(1)) or other electronic communication or data storage devices or media, and
effects, to search conducted by a U.S. Probation Officer with reasonable suspicion concerning a violation of
a condition of probation or unlawful conduct by the person. Failure to submit to a search may be grounds for
revocation. The defendant shall warn any other residents that the premises may be subject to searches
pursuant to this condition. The defendant shall permit confiscation and/or disposal of any material considered
contraband or any other item which may be deemed to have evidentiary value related to violations of
supervision.

The defendant shall submit to one drug urinalysis within 15 days after being placed on supervision and at least
two periodic tests thereafter.

The defendant shall not illegally possess a controlled substance.

The defendant shall complete a drug/alcohol evaluation and complete any recommended treatment, under
the guidance and supervision of the United States Probation Officer.

The defendant shall not own, possess or have under his control any firearm, dangerous weapon or other
destructive device.
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                               STANDARD CONDITIONS OF SUPERVISION

While the defendant is on supervised release pursuant to this judgment, the defendant shall not commit
another federal, state or local crime. In addition:

1.     The defendant shall not leave the judicial district without the permission of the court or probation
       officer;

2.      The defendant shall report to the probation officer as directed by the court or probation officer and
        shall submit a truthful and complete written report within the first five days of each month;

3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
        of the probation officer;

4.      The defendant shall support his or her dependents and meet other family responsibilities;

5.      The defendant shall work regulady at a lawful occupation unless excused by the probation officer for
        schooling, training, or other acceptable reasons;

6.      The defendant shall notify the probation officer within 72 hours of any change in residence or
        employment;

7.      The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,
        distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to
        such substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests
        as directed by the probation officer to determine the use of any controlled substance;

8.      The defendant shall not frequent places where controlled substances are illegally sold, used,
        distributed, or administered;

9.      The defendant shall not associate with any persons engaged in criminal activity, and shall not
        associate with any person convicted of a felony unless granted permission to do so by the probation
        officer;

10.     The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
        shall permit confiscation of any contraband observed in plain view by the probation officer;

11.     The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
        law enforcement officer;

12.     The defendant shall not enter into any agreement to act as an informer or a special agent of a law
        enforcement agency without the permission of the court;

13.     As directed by the probation officer, the defendant shall notify third parties of risks that may be
        occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
        the probation officer to make such notifications and to confirm the defendant's compliance with such
        notification requirement.
